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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                          )
    In re:                                                )   Chapter 11
                                                          )
    FRANCHISE GROUP, INC., et al., 1                      )   Case No. 24-12480 (LSS)
                                                          )
                             Debtors.                     )   (Jointly Administered)
                                                          )
                                                          )   Re: Docket Nos. 500, 545, 546, 547, 549, 550, 551 & 584
                                                          )

                               NOTICE OF AMENDMENT TO
                         SCHEDULE G FOR CERTAIN OF THE DEBTORS

             PLEASE TAKE NOTICE OF THE FOLLOWING:

        Pursuant to rule 1009(a) of the Federal Rules of Bankruptcy Procedure, the
above-captioned debtors and debtors in possession (collectively, the “Debtors”), hereby provide
notice (this “Notice”) that Debtors (a) Buddy’s Franchising and Licensing LLC, (b) Betancourt
Sports Nutrition, LLC, (c) Vitamin Shoppe Florida, LLC, (d) Vitamin Shoppe Procurement
Services, LLC, (e) Vitamin Shoppe Mariner, LLC, (f) Vitamin Shoppe Industries LLC, and
(g) Vitamin Shoppe Global, LLC (collectively, the “Amending Debtors”) have amended Schedule
G of their respective Schedules of Assets and Liabilities (collectively, the “Schedules”), as set
forth below.


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      The Debtors in these chapter 11 cases, along with the last four digits of their U.S. federal tax identification
      numbers, to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225),
      Freedom VCM Interco Holdings, Inc. (2436), Freedom Receivables II, LLC (4066), Freedom VCM Receivables,
      Inc. (0028), Freedom VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC
      (0444), American Freight FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group
      Intermediate Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486), Franchise Group Newco
      Intermediate AF, LLC (8288), American Freight Group, LLC (2066), American Freight Holdings, LLC (8271),
      American Freight, LLC (5940), American Freight Management Company, LLC (1215), Franchise Group
      Intermediate S, LLC (5408), Franchise Group Newco S, LLC (1814), American Freight Franchising, LLC (1353),
      Home & Appliance Outlet, LLC (n/a), American Freight Outlet Stores, LLC (9573), American Freight Franchisor,
      LLC (2123), Franchise Group Intermediate B, LLC (7836), Buddy’s Newco, LLC (5404), Buddy’s Franchising
      and Licensing LLC (9968), Franchise Group Intermediate V, LLC (5958), Franchise Group Newco V, LLC
      (9746), Franchise Group Intermediate BHF, LLC (8260), Franchise Group Newco BHF, LLC (4123), Valor
      Acquisition, LLC (3490), Vitamin Shoppe Industries LLC (3785), Vitamin Shoppe Global, LLC (1168), Vitamin
      Shoppe Mariner, LLC (6298), Vitamin Shoppe Procurement Services, LLC (8021), Vitamin Shoppe Franchising,
      LLC (8271), Vitamin Shoppe Florida, LLC (6590), Betancourt Sports Nutrition, LLC (0470), Franchise Group
      Intermediate PSP, LLC (5965), Franchise Group Newco PSP, LLC (2323), PSP Midco, LLC (6507), Pet Supplies
      “Plus”, LLC (5852), PSP Group, LLC (5944), PSP Service Newco, LLC (6414), WNW Franchising, LLC (9398),
      WNW Stores, LLC (n/a), PSP Stores, LLC (9049), PSP Franchising, LLC (4978), PSP Subco, LLC (6489), PSP
      Distribution, LLC (5242), Franchise Group Intermediate SL, LLC (2695), Franchise Group Newco SL, LLC
      (7697), and Educate, Inc. (5722). The Debtors’ headquarters is located at 2371 Liberty Way, Virginia Beach,
      Virginia 23456.
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                                    ORIGINAL SCHEDULES

       On December 24, 2024, the Debtors each filed their Schedules and their Statements of
Financial Affairs [Docket Nos. 500–558] (collectively, the “Schedules and Statements”).

                                    AMENDED SCHEDULES

        After filing the Schedules, the Amending Debtors learned that certain executory contracts
and unexpired leases were inadvertently omitted from their respective Schedule G. Accordingly,
the Amending Debtors have amended Schedule G (the “Amended Schedule”) to include such
executory contracts and unexpired leases. The applicable Amending Debtors’ Amended Schedule
is attached hereto as Exhibit A.

       Except for the Amended Schedule and the amendment to the Schedules reflected in the
Notice of Amendment to Schedule A/B for Vitamin Shoppe Industries LLC [Docket No. 584], no
changes have been made to the Schedules and Statements since they were originally filed. The
Amended Schedule is hereby incorporated into, and comprise an integral part of, the Schedules
and Statements.

                                         GLOBAL NOTES

        The Amended Schedule remains subject in all respects to the Global Notes and Statement
of Limitations, Methodology, and Disclaimers Regarding the Debtors’ Schedules of Assets and
Liabilities and Statements of Financial Affairs filed with the Schedules and Statements.

                                  RESERVATION OF RIGHTS

        The Debtors reserve their rights to dispute, or to assert offsets or defenses against, any filed
claim or any claim listed or reflected in the Schedules as to the nature, amount, liability,
classification, or otherwise. The Debtors reserve all rights to further amend or supplement the
Amended Schedule and the Schedules and Statements. In addition, nothing contained in this
Notice shall preclude the Debtors from objecting to any claim, whether scheduled or filed, on any
and all grounds.

                           [Remainder of Page Intentionally Left Blank]




                                                   2
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Dated: April 28, 2025
Wilmington, Delaware

 /s/ Shella Borovinskaya
  YOUNG CONAWAY STARGATT &                    KIRKLAND & ELLIS LLP
  TAYLOR, LLP                                 KIRKLAND & ELLIS INTERNATIONAL LLP
  Edmon L. Morton (Del. No. 3856)             Joshua A. Sussberg, P.C. (admitted pro hac vice)
  Matthew B. Lunn (Del. No. 4119)             Nicole L. Greenblatt, P.C. (admitted pro hac vice)
  Allison S. Mielke (Del. No. 5934)           Derek I. Hunter (admitted pro hac vice)
  Shella Borovinskaya (Del. No. 6758)         601 Lexington Avenue
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 Co-Counsel to the Debtors                    Co-Counsel to the Debtors
 and Debtors in Possession                    and Debtors in Possession




                                         3
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                      EXHIBIT A

                    Amended Schedule
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             IN THE UNITED STATES BANKRUPTCY
             COURT FOR DISTRICT OF DELAWARE


                                        §
In re:                                  §           Chapter 11
                                        §
FRANCHISE GROUP, INC., et al.           §           Case No. 24-12480 (LSS)
                                        §
Debtors                                 §
                                        §



                SCHEDULES OF ASSETS AND LIABILITIES FOR
                       Vitamin Shoppe Florida, LLC
                            CASE NO. 24-12510 (LSS)




                                   - Page 1 of 1
Vitamin Shoppe Florida, LLC                                 Case 24-12480-LSS                Doc 1330          Filed 04/28/25          Page 6 of 8                                Case Number: 24-12510 (LSS)


 Fill in this information to identify the case and this filing:

 Debtor Name:                                    Vitamin Shoppe Florida, LLC

 United States Bankruptcy Court:                       District of Delaware

 Case Number (if known):                                 24-12510 (LSS)




Form 206G

Schedule G: Executory Contracts and Unexpired Leases
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

   Part 1:


1. Does the debtor have any executory contracts or unexpired leases?
             No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
             Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B).

2. List all contracts and unexpired leases



 Nature of the Debtor's Interest                                  Expiration Date            Contract ID           Co-Debtor                      Name                                Address



2.1 THE VITAMIN SHOPPE PURCHASE AGREEMENT BY                                                  121800319                           AHN INTERNATIONAL INC DBA               2709 FAITH INDUSTRIAL DR SUITE
    AND BETWEEN VITAMIN SHOPPE FLORIDA, LLC                                                                                       AMAZING HERBS                           500
    AND AHN INTERNATIONAL INC DBA AMAZING                                                                                                                                 BUFORD, GA 30518
    HERBS
2.2 GUIDE TO VENDOR PARTNERSHIP BY AND                                                        121800391                           ALLERA HEALTH PRODUCTS                  16935 WEST BERNARDO DRIVE,
    BETWEEN VITAMIN SHOPPE FLORIDA, LLC AND                                                                                                                               SUITE 224
    ALLERA HEALTH PRODUCTS                                                                                                                                                SAN DIEGO, CA 92127
2.3 THE VITAMIN SHOPPE PURCHASE AGREEMENT BY                                                  121800941                           BIO NUTRITION INC.                      64 ALABAMA AVE
    AND BETWEEN VITAMIN SHOPPE FLORIDA, LLC                                                                                                                               ISLAND PARK, NY 11558
    AND BIO NUTRITION INC.
2.4 WELLSYNC NETWORK ACCESS SERVICES                                                          129990574                           CLICK TO FILL, INC.                     821 DAWSONVILLE HWY
    AGREEMENT, DATED APRIL 18, 2024, BY AND                                                                                                                               SUITE 250337
                                                                                                                                                                          GAINESVILLE, GA 30501-2636

                                                                                             Schedule G - Page 1 of 2
Vitamin Shoppe Florida, LLC                     Case 24-12480-LSS    Doc 1330        Filed 04/28/25      Page 7 of 8                Case Number: 24-12510 (LSS)


Schedule G: Executory Contracts and Unexpired Leases
   Part 1:


  Nature of the Debtor's Interest                  Expiration Date   Contract ID         Co-Debtor               Name                    Address



    BETWEEN VITAMIN SHOPPE FLORIDA, LLC AND
    CLICK TO FILL, INC.
2.5 THE VITAMIN SHOPPE PURCHASE AGREEMENT BY                         121802350                       EROM INC.              14630 INDUSTRY GR
    AND BETWEEN VITAMIN SHOPPE FLORIDA, LLC                                                                                 LA MIRADA, CA 90638
    AND EROM INC.
2.6 THE VITAMIN SHOPPE PURCHASE AGREEMENT BY                         121802360                       ESSENTIA WATER LLC     27833 BOTHELL-EVERETT HWY
    AND BETWEEN VITAMIN SHOPPE FLORIDA, LLC                                                                                 SUITE 220
    AND ESSENTIA WATER LLC                                                                                                  BOTHELL, WA 98021
2.7 PURCHASE AGREEMENT BY AND BETWEEN                                121802634                       FOCUS NUTRITION LLC    96 N 1800 W #11
    VITAMIN SHOPPE FLORIDA, LLC AND FOCUS                                                                                   LINDON, UT 84042
    NUTRITION LLC
2.8 THE VITAMIN SHOPPE PURCHASE AGREEMENT BY                         121803503                       IMPACT NUTRITION LLC   58 RIVER STREET
    AND BETWEEN VITAMIN SHOPPE FLORIDA, LLC                                                                                 SUITE 8
    AND IMPACT NUTRITION LLC                                                                                                MILFORD, CT 06460
2.9 THE VITAMIN SHOPPE PURCHASE AGREEMENT,                           121805139                       NUTRIKEL, LLC          65 CARDINAL DRIVE
    DATED JANUARY 28, 2014, BY AND BETWEEN                                                                                  GLASTONBURY, CT 6033
    VITAMIN SHOPPE FLORIDA, LLC AND NUTRIKEL,
    LLC
2.10 THE VITAMIN SHOPPE PURCHASE AGREEMENT                           121805246                       OONA HEALTH            803 WASHINGTON STREET
     BY AND BETWEEN VITAMIN SHOPPE FLORIDA, LLC                                                                             NEW YORK, NY 10014
     AND OONA HEALTH
2.11 PURCHASE AGREEMENT BY AND BETWEEN                               121806020                       RISE BAR               16752 MILLIKAN
     VITAMIN SHOPPE FLORIDA, LLC AND RISE BAR                                                                               IRVINE, CA 92606




Total number of contracts                                                                                                                                11




                                                                     Schedule G - Page 2 of 2
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 Fill in this information to identify the case and this filing:

 Debtor Name:                           Vitamin Shoppe Florida, LLC

 United States Bankruptcy Court:                  DISTRICT OF DELAWARE

 Case Number (if known):                            24-12510 (LSS)




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership,
must sign and submit this form for the schedules of assets and liabilities, any other document that requires a
declaration that is not included in the document, and any amendments of those documents. This form must
state the individual's position or relationship to the debtor, the identity of the document, and the date.
Bankruptcy Rules 1008 and 9011.

Warning -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining
money or property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or
imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571


Declaration and Signature


     I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
     partnership; or another individual serving as a representative of the debtor in this case.

     I have examined the information in the documents checked below and I have a reasonable belief that the information is true and
     correct:



         Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
         Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
         Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
         Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
         Schedule H: Codebtors (Official Form (206H)
         Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
         Amended Schedule
         Other document that requires a declaration




     I declare under penalty of perjury that the foregoing is true and correct.


     Executed on: 4/28/2025




     Signature:      /s/ Eric Seeton                                       Eric Seeton, Chief Financial Officer
                                                                           Name and Title




                                                   Declaration and Signature - Page 1 of 1
